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                       EXHIBIT A
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                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        03/18/2022
                                                                                                        CT Log Number 541250450
    TO:         Jason Albosta
                ColourOZ Investment 2 LLC
                17177 N LAUREL PARK DR
                LIVONIA, MI 48152-2693

    RE:         Process Served in California

    FOR:        Flint Group, LLC (Domestic State: MN)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                                  Re: MARCO CABEZAS // To: Flint Group, LLC
    DOCUMENT(S) SERVED:                               --
    COURT/AGENCY:                                     None Specified
                                                      Case # CIVSB2201835
    NATURE OF ACTION:                                 Employee Litigation - Discrimination
    ON WHOM PROCESS WAS SERVED:                       C T Corporation System, GLENDALE, CA
    DATE AND HOUR OF SERVICE:                         By Process Server on 03/18/2022 at 12:33
    JURISDICTION SERVED :                             California
    APPEARANCE OR ANSWER DUE:                         None Specified
    ATTORNEY(S) / SENDER(S):                          None Specified
    ACTION ITEMS:                                     CT will retain the current log

                                                      Image SOP

                                                      Email Notification, Jason Albosta jason.albosta@flintgrp.com

    REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                      330 N BRAND BLVD
                                                      STE 700
                                                      GLENDALE, CA 91203
                                                      800-448-5350
                                                      MajorAccountTeam1@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




                                                                                                        Page 1 of 1 / AJ
     Case 5:22-cv-01265-FLA-KK Document 1-1 Filed 07/20/22 Page 3 of 16 Page ID #:11

                                                              qzmat Woiters    Kluwer

                         PROCESS SERVER DELIVERY DETAILS




Date:                       Fri, Mar 18, 2022

Server Name:                Bruce Anderson




Entity Served               FLINT GROUP, LLC

Case Number                 CIV562201835

J urisdiction               CA




            11 I I 1 I I I I
             Case 5:22-cv-01265-FLA-KK Document 1-1 Filed 07/20/22 Page 4 of 16 Page ID #:12
.   From: tkristopher Ellison      • Fax: 1310
                                             .8626237            To;                               Fax;(609) 708.8586                    Page: 2 of 16       0145/2022 12:35 PM
                                                           \me                                                                ftale
                                                                                                                                                                         survioo
                                                         SUMMONS                                      BY FAX                             (
                                                                                                                                             FOR COURT USE ONLY
                                                                                                                                          SOLO PARA WO OF LA comp
                                               (CITACION JUDICIAL)
           NOTICE TO DEFENDANT:                                                                                                                F I I,E D
                                                                                                                                                    CALIFORNIA
         (AVISO AL DEMANDADO):                                                                                                    SUPERIOR COURT OF
                                                                                                                                                 BERNARDINO
                                                                                                                                   COUNTY OF SAN
           FLINT GROUP,LLC,JOSE GOMEZ,and DOES 1 through 100,                                                                       SAN BERNARDINO
                                                                                                                                                    DISTRICT
           inclusive
           YOU ARE BEING SUED BY PLAINTIFF:                                                                                                  FEB 24 2022
          (LO ESTA OEMANDANDO EL DEMANDANTE):
            MARCO CABEZAS
                                                                                                                                 BY
                                                                                                                                               IA         A PEREZ,OliPUTY

             NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
             below.
                You have 30 CALENDAR DAYS after this summons and regal papers are served on you to file a written response at this court and have a copy
             served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal forrn if you want the court to hear your
             case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
             Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
             the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money. and property
             may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away, If you do•not know an attorney, you may want to call an attorney
             referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
             these nonprofit groups at the California Legal Services Web site (www.lawheipcafifomle.org), the California Courts Online Self-Help Center
            (www.courtInfo.ce.goviselthelp), or by contacting your local court or county bar association. NOTE:The court has a statutory lien for waived fees and
             costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case.
                        1.0 hen demanded°. SI no responde denho de 30 dies, Is caste puede decidir en su contra sin escuchar su version. Lea la Informacion a
            contInuacion.
                Tiene 30 DIAS DE CALENDAR10 despues de que le entreguen este citeclon y metes legales plapresenter una respuesta par escrito en este
             cane, ynerc.-or quo cer ernrogac Lfld copre dr adanaricarno. Lind i4r18 0'tura tratilaiva mil:nu,in:a in? to 'sr tOltnj1711. •UI       'An tfJ‘IILLI Utlfltl lfWEI e58,'

            en formate legal correct° Si desea qua precesen su case en la cone. Es pestle qua hays an formularlo qua usted puede user pare su respueste.
            Puede encontrar estos formularies dale cotta y mitts Informack3n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), ante
             bibllotece de !ayes de su condado o en le cotta quo le quede mas cerca. SI no puede pagerla cuota de presentackin, pide at secretarle de Is cone
             qua le de un formulario de exenclon de pago de cuotas. Si no presents su respueste a (tempo, puede pastier el case potincumplimiento y la carte le
             padre guitar su sue/do, dinero y blenes sin mils advertencia.
               Hay otros requisites legates. Es recomendeble quo llama a an abogado Inmediatamente. SI no conoce a un abogado, puede hamar a an servicio de
                                                                                                                                                                                 -•   -
             programa de servicios legates sin fines de lucre. Puede encontrar estos grupos sin fines de lucre en el sltio web de California Legal Services,
            (Www.lawhelpcalifornla.org), en el Centro de Ayuda de les Cortes de California,(www.sucorte.calov)o ponlandose en contact° con la cone o el
             cnuictio j1pahnvarlric Inralac A         Pew lay la rea-la Nana tlaranhn a rarlamar Inc etantae Ina tvietne arantric             larrular Jai oraitarnan anima
             cualquier recuperacion de $10,0006 mas de valor reclblda medlante an acuerrio o tine concesiOn de arblbsie en un caso de cferecho civil. Vane qua
             pager at gravamen de la cone antes de quo Ia cone puede desechar el case,
           The name and address of the court Is:
          (El nombre y dlreccion de la costa es): San Bernandino Courthouse
           247 West Third Street
           San Bernardino, CA 92415-0210
                                                                                                                        8176
                                                                                                                        'A   2201835
           The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
          (El nombre, la direcclon ye!flamer° de telefono del abogado del demandante, o del demandante quo no Ilene abogado, es):
           The Winfield Law Group,6242 Westchester Parkway Ste 240, Los Angelep, C 99045 "

          DATE: Jarman/ 22, 2022                                 .            Clerk, by                                   , Deputy
         (Fecha)                                                    FEB 24 2022
                                                                              (Secretario) t           ra.;-              (AdJunto)
         (For proof ofservice ofthis summons, use Proof of Service of Summons(form POS-010).)
         (Para prueba de entrega de este cllatIOn use el formulario Proof of Service of Summons,(POS-010)). Melissa'Perez
                                         NOTICE TO THE PERSON SERVED: You are served
                                         1. F.1 as an individual defendant.
                                         2. ED as the person sued under the fictitious name-ef-fspoeify}:


                                                        3. ED   on behalf of(specik): FLINT GROUP,LLC

                                                          under: ED CCP 416.10(corporation)                 rn CCP 416.60(minor)
                                                                71 CCP 416.20(defunct corporation)          ni CCP 418.70(conservatee)
                                                                  ElCCP 416.40 (association or partnership) F-1 CCP 416.90(authorized person)
                                                                 EJ other (specify):
                                                                by personal delivery on (date):
                                                                                                                                                                            Pan* 1 oft
            FOrrnrummers rcr. Mandatory Use                                             SUMMONS                                                      Code of&a PrOcadure §5412.20,465
              Judicial Council of California                                                                                                                       www.courtinto.ce.gov
              SUM-100 (Rev. July 1, 2009)
Case 5:22-cv-01265-FLA-KK Document 1-1 Filed 07/20/22 Page S
                                                           5 of 16 FILED
                                                                    Page ID #:13
                                                                            UPERIOR COURT OF
                                                                            COUNTY OF        CALIFORNIA
                                                                                      SAN BERNARDINO
                                                                             SAN BERNARDINO
                                                                                            DISTRICT
       1   Christopher Ellison, Esq.(CSB #248545)
           WINFIELD LAW GROUP                                                    JAN 25 2022
       2   6242 Westchester Parkway Ste. 240
           Los Angeles, California 90045
       3   Telephone: (310) 649-6248                                   SY            5111
           martingwinfieldlaw.com                                                M    SSA PEREZ, DEP
      4
           Attorneys for Plaintiff
      5
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
      6
                                      COUNTY OF SAN BERNANDINO
      7
           MARCO CABEZAS,                                CASE NO.      C1V SBBY2FA0
                                                                                 2 1 8 35
                                                                                 X
      8
      9                         Plaintiff,               COMPLAINT:

      10          VS.                                    1.     HARASSMENT
                                                               (Hostile Work Environment)
      11   FLINT GROUP, LLC, JOSE GOMEZ,and, 2.                 RACE DISCRIMINATION
           DOES 1 through 100, inclusive,                      (Disparate Treatment)
      12                                     3.                 DISABILITY DISCRIMINATION
                             Defendants.     4.                FAILURE TO PREVENT
      13                                                        HARASSMENT And
                                                               DISCRIMINATION
      14                                                       [Violation Of Cal. Govt.
                                                                Code §12940(K)];
      15                                                 5.    RETALIATION
                                                               [Violation Of Cal. Govt
      16                                                        Code §12940(1);
                                                         6.    FAILURE TO ACCOMMODATE;
                                                         7.    FAILURE TO ENGAGE IN
      17
                                                                INTERACTIVE PROCESS;
      18                                                 8.    INTENTIONAL INFLICTION
                                                                OF EMOTIONAL DISTRESS;
      19                                                 9.    WRONGFUL DISCHARGE IN
                                                                VIOLATION OF PUBLIC POLICY
     20                                                  10.   FAILURE TO PROVIDE MEAL
                                                               PERIODS IN VIOLATION OF
     21                                                        CAL. LAB. CODE §§ 226.7 AND
                                                               512;
     22                                                  11.   FAILURE TO PROVIDE REST
                                                               PERIODS IN VIOLATION OF
     23                                                        CAL. LAB. CODE §§ 226.7 AND
                                                               512;
     24                                                  12.   FAILURE TO PROVIDE
                                                               ITEMIZED WAGE STATEMENTS
     25                                                        IN VIOLATION OF CAL. LAB.
                                                               CODE § 226
     26                                                  13.   FAILURE TO PAY WAGES
                                                               WHEN DUE IN VIOLATION OF
     27                                                        CAL. LAB. CODE § 203 ET SEQ.

     28
                                                               DEMAND FOR JURY TRIAL

                                                Page I

                                                COMPLAINT
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From: Christopher Ellison
                    Fax: 13108826237 To:Document 1-1 Filed    07/20/22
                                                       Fax: (909) 708-8586 Page 6Page:
                                                                                  of 164 of 16Page  ID #:14
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                                               Name



                                                                                          CIV SB 2 2 0 1 8 3 5
                 1
                            PLAINTIFF alleges as follows:
                 2
                                   All allegations in this Complaint are based upon information and belief except for
                3           those allegations which pertain to PLAINTIFF and his counsel. PLAINTIFF's information
                4           and belief are based upon inter alia, the investigation conducted to. dale. by PLAINTIFF an
                5           his counsel. Each allegation in this Complaint either has evidentiary support or is likely to
                6           have evidentiary support after a reasonable opportunity for further investigation and
                            discovery.
                7
                                                          ALLEGATIONS COMMON TO ALL
                8
                                                                  CAUSES OF ACTION
                9           THE PARTIES
               10                  1.     Marco Cabezas("PLAINTIFF") is and was, at all times mentioned herein:
               11                        (a)          A resident of San Bernandino County,
               12                                 California; and,

               13                        (b)          Employed by Defendant Flint Group LL
                                                 ("FLINT GROUP ")
               14
                                         (c)          Unlawfully discriminated, harassed and
               15
                                                      retaliated against by Defendants.
               16                  2.     PLAINTIFF is informed and believes, and based upon that information and
               17           belief alleges that DEFENDANT FLINT GROUP LLC("DEFENDANT FLINT GROUP")
               18           is and was, at all times mentioned herein:
               19                        (a)      A Private Employer of PLAINTIFF.
                                         (b)          Doing business in San Bernandino County, California;
               20
                                         (c)          Unlawfully discriminated, retaliated and harassed PLAINTIFF.
               21
               22
                                   3.     PLAINTIFF is informed and believes, and based upon that information and
               23           belief alleges that DEFENDANT JOSE GOMEZ("GOMEZ") is and was, at all times
               24           mentioned herein:
               25                        (a)      PLAINTIFF's Supervisor at FLINT GROUP;

               26                        (b)          Unlawfully discriminated, retaliated and harassed PLAINTIFF.
                                   4.     The true names and capacities, whether individual, corporate, partnership,
               27
                            associate, or otherwise of DEFENDANT DOES 1 through 99, inclusive is unknown to
               28
                            PLAINTIFF who therefore sues these DEFENDANTS by such fictitious names pursuant to

                                                                        Page 2

                                                                        COMPLAINT

                                 „
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From; Christopher Ellison
                    Fax: 13108826237 To:Document 1-1 Filed  07/20/22
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                                                                                       CIV SB 2 2 0 1 8 3 5
                 1          California Code of Civil Procedure §474. PLAINTIFF will seek leave to amend this First
                 2          Amended Complaint to allege their true names and capacities when they are ascertained.
                                   5.     PLAINTIFF is informed and believes, and based on that information and
                 3
                            belief alleges that DEFENDANTS named in this Complaint, including DOES 1 through
                 4
                            100, inclusive, is responsible in some manner for one or more of the events and
                 5
                            happenings, and proximately caused the injuries and damages, hereinafter alleged.
                6                  6.     PLAINTIFF is informed and believes, and based upon that information and
                 7          belief alleges, that each of the DEFENDANTS named in this Complaint, including DOES 1
                8           through 100, inclusive, is, and at all times mentioned herein was, the agent, servant, and/or

                9           employee of each of the other DEFENDANTS,and that each DEFENDANT was acting
                            within the course and scope of his, his, or its authority as the agent, servant, and/or
               10
                            employee of each of the other DEFENDANTS. Consequently each DEFENDANT is
               11
                            jointly and severally liable to PLAINTIFF for the damages sustained as a proximate result
               12
                            of their conduct.
               13           BACKGROUND ALLEGATIONS
               14                  7.     PLAINTIFF was hired by DEFENDANT FLINT GROUP in or
               15           About February 2003. PLAINTIFF received raises, promotions and praise for his work at
                            FLINT GROUP. PLAINTIFF was employed until approximately August 2019, when he
               16
                            was unlawfully terminated. During the tenure of his employment, PLAINTIFF performed
               17
                            his job duties in an exemplary manner.
               18
                                   8.     DEFENDANT FLINT GROUP allowed, condoned, instigated and created a
               19           discriminatory and hostile work environment towards PLAINTIFF. PLAINTIFF was
               20           bullied, harassed and discriminated against by-DEFENDANT GOMEZ. PLAINTIFF was
               21           called derogatory names, harassed, and discriminated against by individuals employed by
               22           DEFENDANTS . The conduct was consistent and pervasive towards PLANTIFF.
                            PLAINTIFF reported the discriminatory, harassing and retaliatory conduct to Human
               23
                            Resources, as well as to upper management, however, DEFENDANT FLINT GROUP
               24
                            continued to allow the hostile work environment to exist towards PLAINTIFF, retaliated
               25           against PLAINTIFF, and further harassed and discriminated against PLAINTIFF.
               26                  9.     Throughout this time, PLAINTIFF complained, reported and requested that
               27           the FLINT GROUP take action to correct, remedy and discipline the employee(s) that were
               28           harassing and creating the hostile work environment. Plaintiff complained to the harasser's


                                                                      Page 3

                                                                      COMPLAINT
         Case 5:22-cv-01265-FLA-KK
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                                                                                      CIV SB 2 2 0 1 8 3 5
                 1          supervisor, as well as Human Resources.
                 2                 10.    Throughout this period PLAINTIFF began experiencing fear, anxiety and

                 3          depression (amongst other symptoms) due to the harassment, hostile work environment,
                            and lack of investigative or corrective action by the FLINT GROUP.
                 4
                                   11.    In or around October 2018, PLAINTIFF was diagnosed with a physical and
                 5
                            mental disability. PLAINTIFF'S medical provider took him off of work due to the
                6           disability.
                 7
                8                  12.     Upon PLAINT1FF's return from her medical leave, PLAINTIFF was placed

                9           in the same hostile work environment as before, as a result, he began to experience the
                            same symptoms of fear, anxiety and depressions as before his medical leave. PLAINTIFF
               10
                            expressed this to DEFENDANT FLINT GROUP and requested accommodations however,
               11
                            DEFENDANT FLINT GROUP failed to accommodate PLAINTIFF's request, and failed to
               12           discuss what accommodations it could make to assist PLAINTIFF.
               13                  13.    Throughout this period, PLAINTIFF requested that DEFENDANTS stop
               14           harassing, bullying, denigrating, and creating and retaliatory environment. Moreover,
               15           PLAINTIFF reported these incidents to DEFENDANT FLINT GROUP, including but not
                            limited to the Human Resource, however, no action was taken against Defendant GOMEZ.
               16
                                    14.   On or about August 7, 2020, PLAINTIFF filed a Complaint with the
               17
                            California Department of Fair Employment and Housing, charging DEFENDANT FLINT
               18
                            GROUP with harassment, retaliation and racial and disability discrimination in violation of
               19           the California Fair Employment and Housing Act (FEHA). Furthermore, PLAINTIFF has
               20           complied with the Claims process for filing personal injury claims against the FLINT
               21           GROUP.
               22                                      FIRST CAUSE OF ACTION FOR
                                                 HARASSMENT (Hostile Work Environment)
               23
                                                              (Against Defendants)
               24
                                   15.    PLAINTIFF repleads and realleges paragraphs 1 through 14, inclusive, of
               25           this Complaint, and they are incorporated herein by reference.
               26                  16. Jurisdiction in this court is invoked pursuant to the FAIR EMPLOYMENT
               27           AND HOUSING ACT ["FEHA "], i.e., Gov. Code § § 12900, 12921, 12926, 12940 and
               28           12965, specifically Section 12940 (j).


                                                                     Page 4

                                                                     COMPLAINT
         Case 5:22-cv-01265-FLA-KK
                    Fax: 13108826237
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                                                                                           CIV SB 2 2 0 1 8 3 5
                 1                 17. DEFENDANTS are entities and/or individuals with an obligation under the
                 2          law to assure an environment in which its employees can work freely without fear of
                            harassment on the basis of their race, disability and/or because they oppose and report any
                 3
                            business practices forbidden under the law.
                4
                                   18. DEFENDANTS have engaged, allowed, condoned, enabled and refused to
                5
                            prevent the harassment of PLAINTIFF, by its managerial/supervisory officials' and by its
                6           non-managerial employees.
                 7                 19.    The harassment described herein, and otherwise described above, was and is
                8           so severe and pervasive that the working conditions of PLAINTIFF was altered into a
                9           hostile work environment.
                                   20.    As a direct and proximate result of such unlawful conduct by
               10
                            DEFENDANTS and DOE i•tiiicrti
               11
                            PLAINTIFF has suffered and will continue to suffer physical injuries, pain and suffering,
               12
                            and extreme and severe mental anguish and emotional distress.
               13                  21.    As a further direct and proximate result of said tortious acts, omissions, or
               14           conduct of the DEFENDANTS and DOES 1 through 100 inclusive, and/or their
               15           agents/employees, PLAINTIFF sustained and incurred losses and damages which are
                            itemized as follows:
               16
                                         (a)       Expenditures for medical care, treatment and services in connection
               17
                                          with the aforementioned injuries, in a sum to be determined according to
               18
                                          proof at the time of trial;
               19                        (b)       Disabling and serious pain, suffering, and anguish in connection
               20                         therewith, all to PLAINTIFF's general damage in a sum in excess of the
               21                         minimum jurisdictional amount of this Court; and,
               22                        (c)       Inability to perform PLAINTIFF's regulated and_nsual occupation,
                                          with resulting loss and impairment of earnings and earning capacity, all to
               23
                                          PLAINTIFF's damage in a sum to be determined according to proof at the
               24
                                          time of trial.
               25                  22.    The conduct of DEFENDANTS alleged herein was malicious, willful, and
               26           oppressive with the intent to physically harm PLAINTIFF. DEFENDANTS engaged in
               27           despicable conduct and acted with the conscious disregard of PLAINTIFF's rights and with
               28           an intent to injure PLAINTIFF, such as to constitute oppression and malice under


                                                                        Page 5

                                                                        COMPLAINT
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                                                                                                   CIV SB 2 2 0 1 8 3 5
                 1          California Code of Civil Procedure §3294. PLAINTIFF is thereby entitled to punitive and
                 2          exemplary damages in an amount sufficient to punish and make an example of
                            DEFENDANTS.
                3
                                                                SECOND CAUSE OF ACTION
                 4
                                                   RACIAL DISCRIMINATION IN VIOLATION OF FEHA
                 5
                                                                    (Disparate Treatment)
                6                                                    (Against Defendants)
                7                     23.        PLAINTIFF re-alleges and incorporates by this reference each and every
                8           allegation contained in paragraphs 1 through 22, inclusive, as though fully set forth herein.
                9                    24.         This is a claim for relief arising from racial discrimination in employment. This
                            action is brought pursuant to the FEHA.
               10
                                     25.         Jurisdiction in this court is invoked pursuant to California Government Code §
               11
                            § 12900, 12921, 12926, 12940 and 12965, specifically Sections 12940(a), 12941 and
               12
                            12921(a) [Collectively referred to as "FEHA"]. Defendant FLINT GROUP is not exempt from
               13           the statutes cited in this paragraph by any local, state or federal laws.
               14                    26.         Defendant FLINT GROUP is an employer in the State of California, as defined
               15           in the California Fair Employment and Housing Act, California Government Code §§12900 et

               16           seq.,("FEHA").
                                     27.         PLAINTIFF is an Hispanic-American, a member of a protected class.
               17
                             -• •   --M.-                            aseiste'slArkcifT0sTicfritfiiirileTileilt'Argragrapns
               19
                            part of a longstanding, deep-rooted policy and/or practice by the management of FLINT
               20           GROUP to discriminate against PLAINTIFF because of his race.
               21                    30.         FLINT GROUP at all times relevant herein disparately applied its alleged rules
               22           to PLAINTIFF based on his race.
               23                    31.         The FLINT GROUP,including managers and supervisors, were either aware

               24           of the racial discrimination described herein and took no action to prevent it and/or they

               25           actively participated in the discrimination. PLAINTIFF has petitioned the management of
                            the FLINT GROUP to stop such discriminatory practices. Because such petitions were
               26
                            ignored,PLAINTIFF was required to file administrative complaints with the Department of
               27
                            Fair Employment and Housing, and to initiate the current lawsuit.
               28

                                                                            Page 6
                                                                           COMPLAINT


                                                                                                                             7
        Case 5:22-cv-01265-FLA-KK
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                                                                                            CIVSB
                                                                                                          2201835
                 1                 32.      FLINT GROUP 's discriminatory actions against PLAINTIFF, as alleged herein,
                 2          constituted unlawful discrimination in employment on account of race, in violation of the

                3           California Constitution, Government Codes and Labor Codes referenced above.
                                   33.     As a direct and proximate result of FLINT GROUP 'S discriminatory actions
                4
                            against PLAINTIFF, as alleged above, PLAINTIFF has been harmed in that he has suffered
                5           physical and-emotional injury; consequential and incidental losses, including but not limited to
                6           loss of income and benefits.
                7                  33.     As a further proximate result of FLINT GROUP 'S despicable discriminatory
                8           actions, as alleged above, PLAINTIFF has suffered general and compensatory damages in that

                9           PLAINTIFF has foreseeable suffered humiliation, mental anguish, severe emotional and
                            physical distress, and has been injured in mind and body in an amount according to proof.
               10
                                   34.     As a further and proximate result of FLINT GROUP 'S despicable
               I]
                            discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and
               12           attorneys' fees pursuant to the Fair Employment and Housing Act, California Government Code
               13           § 12900, et seq.
               14                                             THIRD CAUSE OF ACTION
               15                          DISABILITY DISCRIMINATION IN VIOLATION OF FEHA

               16                                          (Against Defendant FLINT GROUP)
                                   35.     PLAINTIFF re-alleges and incorporates by this reference each and every
               17
                            allegation contained in paragraphs 1 through 34, inclusive, as though fully set forth herein.
               18
                                   36.     California Government Code section 12940(a) provides that it is unlawful for any
               19           employer to refuse to employ or to discriminate against a person in compensation or in terms,
               20           conditions, or privileges of employment because of that person's physical disability.
               21                  37.     At all times relevant hereto, FLINT GROUP was an employer, and PLAINTIFF
               22           was an employee of FLINT GROUP.
                                   38.     Defendant knew that Plaintiff had a physical disability.
               23
                                   39.     Plaintiff was able to perform the essential job duties of his position.
               24
                                   40.     Defendant refused to allow Plaintiff to work because of his physical disability.
               25
                                   41.     In committing these actions, Defendant violated the Fair Employment and
               26           Housing Act.
               27                  42.     As a proximate result of FLINT GROUP 'S despicable discriminatory actions,
               28

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                 1          as alleged above, PLAINTIFF has suffered general and compensatory damages in that
                2           PLAINTIFF has foreseeable suffered humiliation, mental anguish, severe emotional and
                            physical distress, and has been injured in mind and body in an amount according to proof. As a
                3
                            proximate result of the acts of Defendant, Plaintiff has suffered damages in an amount according
                4
                            to proof.
                5
                                   43.     As a further and proximate result of FLINT GROUP 'S despicable
                6           discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and
                7           attorneys' fees pursuant to the Fair Employment and Housing Act, California Government Code
                8           § 12900, et seq.

                9
               10                                         FOURTH CAUSE OF ACTION

               11                       FAILURE TO PREVENT DISCRIMINATION AND HARASSMENT
                                                            (Against FLINT GROUP)
               12
                                   44.     PLAINTIFF repleads and realleges paragraphs 1 through 43, inclusive, of
               13
                            this Complaint, and they are incorporated herein by this reference.
               14                  45.     In violation of California Government Code §12940(k), FLINT GROUP
               15           and/or its agents/employees, failed to take all reasonable steps to prevent the discrimination
               16           and harassment directed toward PLAINTIFF.
               17                  46.     PLAINTIFF is informed and believes and thereon allege that this cause of
                            action is not preempted by the California Workers' Compensation Act on the grounds
               18
                            that discrimination and harassment on the basis of race/disability are not risks or conditions
               19
                            of PLAINTIFF'S employment.
               20
                                   47.     As a direct and proximate result of FLINT GROUP failure to prevent the
               21           unlawful conduct towards PLAINTIFF,PLAINTIFF has suffered and will continue to
               22           suffer physical injuries, pain and suffering and extreme and severe mental anguish and
               23           emotional distress; PLAINTIFF has incurred and will continue to incur medical expenses

              24            for treatment by psychiatrists and other health professionals, and for other incidental
                            medical expenses; and PLAINTIFF has suffered and continues to suffer a loss of earnings
               25
                            and other employment benefits. PLAINTIFF is thereby entitled to general and
               26
                            compensatory damages in amounts to be proven at trial.
               27                  48.     As a further and proximate result of FLINT GROUP 'S despicable
               28           discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and

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                                                                                         CIV SB 2 2 0 1 8 3 5
                 1          attorneys' fees pursuant to the Fair Employment and Housing Act, California Government
                 2          Code § 12900, et seq.
                                                        FIFTH CAUSE OF ACTION FOR
                3
                                                                    RETALIATION
                4
                                                                (Against FLINT GROUP)
                5
                                   49.    PLAINTIFF repleads and realleges paragraphs 1 through 48, inclusive, of
                6           this Complaint, and they are-incorporated herein by this reference. •
                7                  50.    At all relevant times herein and in violation of California Government Code
                8           §12940(f),FLINT GROUP and/or their agents/employees, retaliated against PLAINTIFF
                9           by adversely affecting PLAINTIFF's employment after he complained, rebuked and
                            opposed the incidents that have occurred with regard to DEFENDANTS,as alleged herein.
               10
                                   51.    As a direct and proximate result of FLINT GROUP 's unlawful conduct,
               11
                            PLAINTIFF has suffered and will continue to suffer physical injuries, pain and suffering,
               12           and extreme and severe mental anguish and emotional distress. PLAINTIFF has incurred
               13           and will continue to incur medical expenses for treatment by psychiatrists and other health
               14           professionals, and for other incidental medical expenses;.and PLAINTIFF has suffered and
               15           continues to suffer a loss of earnings and other employment benefits. PLAINTIFF is
                            thereby entitled to general and compensatory damages in amount to be proven at trial.
               16
                                   52.    As a further and proximate result of FLINT GROUP 'S despicable
               17
                            discriminatory actions, as alleged above, PLAINTIFF is entitled to reasonable costs and
               18
                            attorneys' fees pursuant to the Fair Employment and Housing Act, California Government
               19           Code § 12900, et seq.
               20                                           SIXTH CAUSE OF ACTION
               21                            FAILURE TO ACCOMMODATE IN VIOLATION OF

               22                               THE FAIR EMPLOYMENT AND HOUSING ACT
                                                            (Against FLINT GROUP)
               23
                                   53.    The.allegations of each of the preceding.paragraphs are realleged and
               24
                            incorporated herein by reference.
               25                  54.    California Governmentfode_section-129411.(m)-provide.s thatitis unlaw
               26           any employer or any other covered entity to fail to make reasonable accommodation for the
               27           known physical or mental disability of an employee.
               28

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                                                                                            CIV SB 2 2 0 1 8 3 5
                 1                  55.    At all times relevant hereto, Defendant FLINT GROUP was aware of
                 2          PLA1NTIFF's physical disability.
                                    56.    PLAINTIFF requested that Defendant FLINT GROUP accommodate his
                3
                            disability.
                4
                                    57.    Defendant FLINT GROUP unreasonably denied PLA1NTIFF's request.
                5
                                    58.     In committing these actions, Defendant FLINT GROUP violated the Fair
                6           Employment and Housing Act.
                7                   59.    Defendant FLINT GROUP committed the acts alleged herein oppressively and
                8           maliciously, with the wrongful intention of injuring PLAINTIFF,from an evil and improper

                9           motive amounting to malice, and in conscious disregard of PLAINTIFF's rights, in that
                            Defendant FLINT GROUP failed to accommodate Plaintiff despite the fact that Plaintiff
               10
                            requested reasonable accommodation. Thus, PLAINTIFF is entitled to recover punitive
               11
                            damages from Defendant FLINT GROUP.
               12
                                   60.     As a proximate result of the acts of Defendant FLINT GROUP , PLAINTIFF has
               13           suffered damages in an amount according to proof.
               14                   WHEREFORE, Plaintiff prays for judgment against Defendant FLINT GROUP as set
               15           forth below.
                                                           SEVENTHCAUSE OF ACTION
               16
                                   FAILURE TO ENGAGE IN INTERACTIVE PROCESS IN VIOLATION OF
               17
                                                 THE FAIR EMPLOYMENT AND HOUSING ACT
               18
                                                              (Against FLINT GROUP)
               19                  61.     The allegations of each of the preceding paragraphs are realleged and
               20           incorporated herein by reference.
               21                  62.     California Government Code section 12940(n) provides that it is unlawful for

               22           any employer or covered entity to fail to engage in a timely, good faith, interactive process with
                            the employee to determine effective reasonable accommodations, if any, in response to a request
               23
                            for reasonable accommodation by an employee with a known physical disability or known
               24
                            medical condition.
               25
                                   63.     At all times relevant hereto, Defendant FLINT GROUP was aware of
               26           PLAINTIFF's physical disability.
               27                  64.     Defendant FLINT GROUP failed to engage in a timely, good faith, interactive
               28           process with PLAINTIFF to determine effective reasonable accommodations for PLAINTIFF.


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                                                                                            CIV SB 2 2 1 8 3 5
                 1                 65.     In committing these actions, Defendant FLINT GROUP violated the Fair
                 2          Employment and Housing Act.
                                   66.     Defendant FLINT GROUP committed the acts alleged herein oppressively and
                3
                            maliciously, with the wrongful intention of injuring PLAINTIFF,from an evil and improper
                4
                            motive amounting to malice, and in conscious disregard of PLAINTIFF's rights, in that
                5
                            Defendant FLINT GROUP failed to engage in a timely, good faith, interactive process with
                6           PLAINTIFF despite the fact that they were aware that PLAINTIFF were disabled. Thus,
                 7          PLAINTIFF is entitled to recover punitive damages from Defendant FLINT GROUP.
                8                  67.     As a proximate result of the acts of Defendant, Plaintiff has suffered damages in

                9           an amount according to proof.
                                   WHEREFORE,PLAINTIFF prays forjudgment against Defendant FLINT GROUP as
               10
                            set forth below.
               11
                                                        NINTH CAUSE OF ACTION FOR
               12                        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
               13                                           (Against all DEFENDANTS)
               14                  68.    PLAINTIFF repleads and realleges paragraphs 1 through 66, inclusive, of
               15           this First Amended Complaint, and they are incorporated herein by this reference.
                                    b9.    As alleged herein, these DEFENDANTS an                roug SI, inc usive,
               16
                            and/or their agents/employees engaged in outrageous conduct towards PLAINTIFF with the
               17
                            intent to cause or with reckless disregard for the probability of causing PLAINTIFF to
               18
                            suffer severe physical and emotional distress. To the extent that such outrageous conduct
               19       (as alleged herein) was perpetrated by certain FLINT GROUP employees, the remaining
               20           DEFENDANTS confirmed and ratified such conduct with the knowledge that
               21           PLAINTIFF's emotional and physical distress would thereby increase, and with a wanton

               22           and reckless disregard for the deleterious consequences to PLAINTIFF.
                                   70.     As a direct and proximate result of DEFENDANTS" unlawful conduct,
               23
                            PLAINTIFF has suffered and will continue to suffer physical injuries, pain and suffering
               24
                            and extreme and severe mental anguish and emotional distress; PLAINTIFF has incurred
               25           and will continue to incur medical expenses for treatment by psychiatrists and other health
               26           professionals, and for other incidental medical expenses; and PLAINTIFF has suffered and
               27           continues to suffer a loss of earnings and other employment benefits. PLAINTIFF is
               28           thereby entitled to general and compensatory damages in amounts to be proven at trial.


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                   1                71.    The conduct of DEFENDANTS alleged herein was malicious, willful, and
                   2          oppressive with the intent to physically harm PLAINTIFF. DEFENDANTS engaged in

                   3          despicable conduct and acted with the conscious disregard of PLAINTIFF's rights and with
                              an intent to injure PLAINTIFF, such as to constitute oppression and malice under
                   4
                              California Code of Civil Procedure §3294. PLAINTIFF is thereby entitled to punitive and
                   5
                              exemplary damages in an amount sufficient to punish and make an example of
                   6          DEFENDANTS.
                   7
                   8                                                       PRAYER

                   9                 WHEREFORE, PLAINTIFF prays for judgment against DEFENDANTS as follows:
                                     1.    On All Causes of Action
                 10
                                           (a)     For actual and/or compensatory damages in favor of PLAINTIFF and
                 11
                                                  against each DEFENDANT in an amount to be ascertained at the time of
                 12                               trial;
                 13                        (b)    For punitive and/or exemplary damages in favor of PLAINTIFF and
                 14                                against DEFENDANTS:
                 15                        (c)     For interest on any actual or compensatory damages PLAINTIFF may
                                                  obtain against DEFENDANTS;
                 16
                                           0.1)   TM Iffielest 011 dl!)'   punitive dIalfUr eXellipldly Ildlllageb PLAIN I irr may
                 17
                                                  obtain against DEFENDANTS;
                 18
                                           (e)     For PLAINTIFF's cost of suit, including attorneys' fees; and,
                 19                        (f)    Injunctive and declaratory relief to address the wrongs alleged herein;
                 20
                                           (g)    For such other and further relief as this Court may deem just and proper.
                 21
                 22           Dated: January 1, 2022                                     WINFIELD LAW GROUP
                 23                                                                          /s/CHRIS ELLISON

                 24                                                                   By:
                                                                                            CHRISTOPHER B. ELLISON
                 25                                                                         Attorney for PLAINTIFF

                 26
                 27
                 28

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